Appellant was charged with and tried and convicted of the crime of driving an automobile on a public highway while under the influence of intoxicating liquor, and appeals from the judgment and an order denying motion for new trial.
It appears necessary to consider but two assignments of error, the action of the trial court with respect thereto appearing to be error of a prejudicial nature requiring a reversal of the judgment.
Specification of error No. 3 is to the effect that the court erred in denying appellant's counsel the right to examine jurors as to their prejudices and beliefs. During the voir dire
examination of the jurors the court reporter reported the following proceedings:
"Q. (By Mr. MULLINS.) Mr. Kyle, do you have any religious or other prejudice against a man who may take a drink of intoxicating liquor?
Mr. ANDERSON: I wish to object to that on the ground it is incompetent, irrelevant and immaterial and not a proper question to be asked of a juror on voir dire examination.
The COURT: Objection sustained.
Mr. MULLINS: We except to that, . . . .
The COURT: The exception is allowed."
Under the facts of this case the question was pertinent and the ruling erroneous. As was said in Elliott v. State,117 Tex. Cr. 180, 36 S.W.2d 513:
"In beginning his examination of the jurors for the purpose of determining whether to challenge them, the appellant *Page 86 
asked the first juror whether he was prejudiced against any man charged with the violation of the liquor law . . . . Under the facts of the case, the question is deemed a pertinent one, in reply to which the accused was entitled to have the answer of each individual juror. The action of the court was an undue restriction of the appellant's right to inform himself of the attitude of each member of the panel to the end that he might intelligently exercise his peremptory challenge or challenge for cause, as the facts developed might warrant."
See also: Beatty v. United States, 27 Fed. (2d) 323; Peoplev. Reyes, 5 Cal. 347; Menefee v. State, 30 Okl. Cr. 400,236 P. 439; Cummings v. State, 32 Okl. Cr. 274, 240 P. 1078;Turnage v. State, 40 Okl. Cr. 180, 267 P. 1038; Young v.State, 41 Okl. Cr. 226, 271 P. 426.
Appellant further assigns that the court erred in permitting, in rebuttal, the testimony of witnesses as to specific acts of intoxication alleged to have been committed by appellant at times other than that under investigation. The record discloses that evidence of such nature was admitted over appellant's objection upon respondent's direct examination in rebuttal. The rule is well settled that where the character of a party is in issue the state cannot in rebuttal prove particular acts of bad conduct, but proof of general reputation is alone admissible. (People v. Bezy, 67 Cal. 223, 7 P. 643; People v. Bishop,81 Cal. 113, 22 P. 477; State v. Popa, 56 Mont. 587,185 P. 1114; State v. Anselmo, 46 Utah, 137, 148 P. 1071; Harrisonv. Harker, 44 Utah, 541, 142 P. 716.)
The rulings of the trial court in permitting the state on rebuttal to introduce evidence of specific and disconnected acts of the use of intoxicating liquor by appellant, and in sustaining objection to questions on the voir dire examination of jurors as to prejudices which might exist as to one who drank intoxicating liquor were so prejudicial in their nature that the cause must be reversed and remanded for a new trial.